                    UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE Division


UNITED STATES OF AMERICA
                                                         JUDGMENT OF ACQUITTAL
        V.
                                                         CASE NUMBER: 3:12-cr-00188-FDW-DSC
SAMANTHA WILLIAMS




        Pursuant to the Fourth Circuit Mandate in case 14-4866, the Defendant is not guilty as to count 1.
IT IS ORDERED that the Defendant is acquitted, discharged and any bond exonerated.




                                        Signed: December 9, 2016




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